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IN THE UNITED sTATEs DISTRICT coURT 'F"'ED Gy--~ D.'c;
FoR THE wEsTERN DISTRICT oF TENNESSEE 05
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THoMAs J. NEWsoME, )1
X
Plaintiff,r X
X
vs. X No. 05-2013~D/V
X
RoNNIE coLE, X
X
Defendant. X
X

 

ORDER ASSESSING FILING FEE
ORDER OF DISMISSAL
AND
ORDER CERTIFYING APPEAL NOT TAKEN IN GOOD FAITH

 

Plaintiff Thomas J. Newsome, prisoner registration number
109748, an inmate at the West Tennessee State Prison (WTSP), in
Henning, filed this complaint under 42 U.S.C. § l983, along with a
motion to proceed in §Q;m§ pauperis. The Clerk of Court shall
record the defendant as Ronnie Cole.

I. Assessment of Filing Fee

Under the Prison Litigation, Refornl Act of 1995 (PLRA), 28
U.S.C. § 19l5(b), all prisoners bringing a civil action must pay the
full filing fee of $150 required by 28 U.S.C. § 1914(a). The in
forma pauperis statute, 28 U.S.C. § l915(a) merely provides the
prisoner the opportunity to make a "downpayment" of a partial filing

fee and pay the remainder in installments.

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ln this case, plaintiff has properly completed and submitted
both an pp fp;mg pauperis affidavit and a prison trust fund account
statement.

Pursuant to 28 U.S.C. § lQlB(b)(l), it is ORDERED that
plaintiff cooperate fully with prison officials in carrying out this
order. lt is ORDERED that the trust fund officer at plaintiff's
prison shall calculate a partial initial filing fee equal to twenty
percent of the greater of the average balance in or deposits to the
plaintiff's trust fund account for the six months immediately
preceding the completion of the affidavit. When the account
contains any funds, the trust fund officer shall collect them and
pay them directly to the Clerk of Court. If the funds in
plaintiff's account are insufficient to pay the full amount of the
initial partial filing fee, the prison official is instructed to
withdraw all of the funds in the plaintiff's account and forward
then1 to the Clerk of Court. On each occasion that funds are
subsequently credited to plaintiff's account the prison official
shall immediately withdraw those funds and forward them to the Clerk
of Court, until the initial partial filing fee is paid in full.

lt is further ORDERED that after the initial partial filing fee
is fully paid, the trust fund officer shall withdraw from the
plaintiff's account and pay to the Clerk of this Court monthly
payments equal to twenty percent (20%) of all deposits credited to

plaintiff's account during the preceding month, but only when the

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amount in the account exceeds $l0.00, until the entire $150.00
filing fee is paid.

Each time that the trust fund officer makes a payment to the
Court as required by this order, he shall print a copy of the
prisoner's account statement showing all activity in the account
since the last payment under this order, and file it with the Clerk
along with the payment.

All payments and account statements shall be sent to:

Clerk, United States District Court, Western District of
Tennessee, 167 N. Main, Room 242, Memphis, TN 38l03

and shall clearly identify plaintiff's name and the case number on
the first page of this order.

lf plaintiff is transferred to a different prison or released,
he is ORDERED to notify the Court immediately of his change of
address. lf still confined he shall provide the officials at the
new prison with a copy of this order.

If the plaintiff fails to abide by these or any other
requirement of this order, the Court may impose appropriate
sanctions, including a monetary fine, without any additional notice
or hearing by the Court.

The Clerk shall mail a copy of this order to the prison

official in charge of prison trust fund accounts at plaintiff's

prison.

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The obligation to pay this filing fee shall continue despite
the immediate dismissal of this case. 28 U.S.C. § 1915(e)(2). The
Clerk shall not issue process or serve any papers in this case.

II. Analvsis of Plaintiff's Claims

Plaintiff sues Tennessee Board of Probation and Parole
Boardmember Ronnie Cole alleging he has been wrongly denied parole.
Newsome was first convicted of rape in 1984. After his conviction
was reversed on appeal, he was tried and convicted of aggravated
rape and aggravated kidnapping in 1988, and he received an effective
sentence of fifty-five years imprisonment. In the summer of 1997,
while incarcerated at the Turney Center Industrial Prison, Newsom
was charged with and convicted of assaulting a prison staff member.
As a result of the disciplinary conviction, Newsome Was placed in
punitive segregation. for ten days, recommended for involuntary
segregation, and fined five dollars. In addition, his release
eligibility date was extended by thirty percent in accordance with
Tennessee Department of Correction Policy Index No. 502.02(VI)(E).
See Newsome v. White, 2003 WL 22994288 (Tenn. Ct. App. Dec. 22,
2003).

Newsom alleges that Cole recommended the denial of his parole
for nine years, a decision which allegedly violates Baldwin v.
Tennessee Board of Parole, 125 S.W.3d 429, 433 (Tenn. Ct. App.
2003). He further alleges that the remaining board members failed
to “correct the problem by immediately setting aside the hearing and

ordering a new hearing.” Instead, the other board member denied him

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parole for five years, and provided no written explanation for the
departure from the guidelines. Newsom concludes that he was denied
due process by the knowing violation of his rights during the parole
hearing. Newsome further alleges that the use of “boiler-plate
language” and the denial of his parole deprived him of his liberty
interest in parole. Plaintiff seeks declaratory and injunctive
relief and compensatory and punitive damages.

There is no fundamental right under the Constitution to parole
or early release. See Greenholtz v. Nebraska Penal lnmates, 442
U.S. l, ll (l979). Contrary to plaintiff's assertions, Tennessee
law and regulations do not create a right to parole. Wright v.
Trammell, 810 F.2d‘ 589, 59l (6th Cir. l987). Here, plaintiff
received individual evaluation and assessment by the Board.
Furthermore, the Sixth Circuit held in an unpublished opinion that
the policies of the Board of Pardons and Paroles are not laws, but
are more in the nature of guidelines for' the Board. to use in
exercising its discretion. Berrv v. Traughber, 2002 WL l8?996l (6th
Cir. 2002)(citing Shabazz v. Gabry, 123 F.3d 909-915-l6 (6th Cir.
1997)).l

The Court need not reach the merits of plaintiff's claims,
however, as he fails to allege that he exhausted his administrative

or available state remedies. Newsome attached a copy of his parole

 

1 Although citation to unpublished Sixth Circuit precedents is

disfavored, this case is referred to in the absence of clear published case law
from this Circuit "because it establishes the law governing the present action
and 'there is no [Sixth Circuit] published opinion that would serve as well.'"
Norton v. Parke, 892 F.2d 476, 479 n.? (6th Cir. 1989).

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decision, dated November 22, 2004, to his complaint. He filed this
complaint on January 6, 2005, alleging that he appealed the Board's
decision pursuant to Tenn. Code Ann. § 40-28~105(d)(11). He further
alleged. that the appeal was pending' on the day he signed the
complaint. Additionally, upon the exhaustion of his administrative
appeals, plaintiff has the right to file a petition for common law
writ of certiorari in the Davidson County Chancery Court, pursuant
to Tenn. Code Ann. § 27-9-101. Blackmon v. Tennessee Bd. of
Paroles, 29 S.W.3d 875, 878 (Tenn. Ct. App. 2000).

Under the Prison Litigation Reform Act of 1995 (PLRA), 42
U.S.C. § 1997e(a) was amended to make exhaustion of administrative
remedies mandatory. Forty-two U.S.C. § l997e(a) requires a federal
court to dismiss without prejudice whenever a prisoner brings a
prison conditions claim without demonstrating that he has exhausted
his administrative remedies. §;ppp_yp_lppmps, 139 F.3d 1102 (6th
Cir. 1998).

The Sixth Circuit has determined that this requirement places

an affirmative burden on prisoners of pleading particular facts

demonstrating the complete exhaustion of claims. Knuckles El v.
Toombs, 215 F.3d 640, 642 (6th Cir. 2000). In order to comply with

the mandates of 42 U.S.C. § l997e(a),

a prisoner must plead his claims with Specificity and show
that they have been exhausted by attaching a copy of the
applicable administrative dispositions to the complaint
or, in the absence of written documentation, describe with
specificity the administrative proceeding and its outcome.

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ld. at 642; see also Currv v. Scott, 249 F.3d at 503-04 (no abuse of
discretion for district court to dismiss for failure to exhaust when
plaintiffs did not submit documents showing complete exhaustion of
their claims or otherwise demonstrate exhaustion). Furthermore, §
1997(e) requires the prisoner to exhaust his administrative remedies
prior to filing suit and, therefore, he cannot exhaust these
remedies during the pendency of the action. Freeman v. Francis, 196
F.3d 641, 645 (6th Cir. 1999).

The Sixth Circuit has consistently looked to the definition of
prison conditions as used in 18 U.S.C. § 3626(g)(2), which was
amended as part of the same legislation as § l997(e) to determine
which claims are governed by § 1997e(a). See Freeman, 196 F.Bd at
643. Section 3626(g)(2) provides:

The term “civil action with respect to prison conditions”
means any civil proceeding arising under federal law with
respect to the conditions of confinement or the effects of
actions by government officials on the lives of persons
confined in prison, but does not include habeas corpus
proceedings challenging the fact or duration of
confinement in prison.

The Sixth Circuit has not explicitly determined in a reported
case that § 1983 claims that challenge parole procedures are actions
“with respect to prison conditions” under § 1997e(a). In Rowan v.
Traughber, 2002 WL 31085167, *1 (6th Cir. 2002),2 the Sixth Circuit

affirmed a district court's dismissal of an inmate’s claim that the

Board had violated his right to due process for failure to state a

 

See supra note l.

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claim upon which relief may be granted, pursuant to 28 U.S.C. §
1915A(b)(1). However, Sixth Circuit also noted that because
plaintiff's administrative appeal of the Board’s decision was still
pending when he filed his civil rights complaint, dismissal was also
appropriate because he had not exhausted all of the administrative

remedies that were available to him. Rowan, 2002 WL 31085167 at *2.

 

The Sixth Circuit has held that claims arising from use of
excessive force, denial of access to the courts, retaliation and
implementation of the DNA Analysis Backlog Elimination Act of 2000,
as well as claims for injunctive relief, are subject to exhaustion.
§ppwp, 139 F. 3d at 1104-05; Freeman, 196 F.3d at 644; White v.
McGinnis, 131 F.3d 593 (6th Cir. 1997); Kemp v. Jones, No. 01-2744,
2002 WL 1808416 (6th Cir. Aug. 6, 2002);3 Jinks v. United States, No.
02~5061, 2002 WL 1379008 (6th Cir. June 25, 2002); Davis v. Keohane,
835 F.2d 1147 (6th Cir. 1987).

Clearly under § 3626(g)(2), the present action is a Civil
action arising under § 1983 with respect to the “effects of actions
by government officials” on the life of a person confined in prison.
Thus, the Court determines that plaintiff's claims are fully within
the scope of § 1997e and his complaint could not be brought “until
such administrative remedies as are available are exhausted.” 42
U.S.C. § 1997e(a). Accordingly, the complaint is DISMISSED without

prejudice under 42 U.S.C. § 1997e(a).

 

See supra note l.

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lll. Appeal Issues

The next issue to be addressed is whether plaintiff should be
allowed to appeal this decision ip fp;ma pauperis. Twenty-eight
U.S.C. § 1915(a)(3) provides that an appeal may not be taken ip
fppma pauperis if the trial court certifies in writing that it is
not taken in good faith. The good faith standard is an objective
one. Conpedge v. United States, 369 U.S. 438, 445 (1962). Under
Brown v. Toombs, an appellate court must dismiss a complaint if a
prisoner has failed to comply with § 1997e's exhaustion
requirements.

Accordingly, if a district court determines that a complaint
must be dismissed as unexhausted, the plaintiff would not yet be
able to present an issue in good faith on appeal because that appeal
would also be subject to immediate dismissal. Thus, the same
considerations that lead the Court to dismiss this case for failure
to exhaust administrative remedies compel the conclusion that an
appeal would not be taken in good faith.

lt is therefore CERTIFIED, pursuant to 28 U.S.C. § 1915(a)(3),
that any appeal in this matter by plaintiff is not taken in good
faith, and plaintiff may not proceed on appeal in fp;ma pauperis.

The final matter to be addressed is the assessment of a filing
fee if plaintiff appeals the dismissal of this case. The United
States Court of Appeals for the Sixth Circuit has held that a
certification that an appeal is not taken in good faith does not

affect an indigent prisoner plaintiff's ability to take advantage of

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the installment procedures contained in § 1915(b). McGOre v.
Wrigglesworth, 114 F.3d 601, 610-11 (6th Cir. 1997). McGore sets
out specific procedures for implementing the PLRA. Therefore, the
plaintiff is instructed that if he wishes to take advantage of the
installment procedures for paying the appellate filing fee, he must

comply with the procedures set out in McGore and § 1915{b).

lb-
IT lS SO ORDERED this 47 day of July, 2005.

 

UNI ED STATES DISTRICT JUDGE

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DIS,ITRCT COURT - WESTER DISCTRIT oF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 3 in
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Thomas J. NeWsome

WEST TENNESSEE STATE PENITENTIARY
109748

P.O. Box l 150

Henning, TN 38041

Honorable Bernice Donald
US DISTRICT COURT

